Case 1:19-md-02875-RMB-SAK          Document 2237        Filed 01/18/23       Page 1 of 2 PageID:
                                         76725




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

  IN RE: VALSARTAN,
  LOSARTAN, AND IRBESARTAN
  PRODUCTS LIABILITY                                         Hon. Robert B. Kugler
  LITIGATION

  THIS DOCUMENT RELATES TO ALL                         Civil Action No.: 1:19-md-02875
  CASES



                 NOTICE OF REQUEST TO WITHDRAW AS COUNSEL

        PLEASE TAKE NOTICE THAT pursuant to Local Rule 102.1, Jay P. Lefkowitz of

 Kirkland & Ellis, LLP, who previously entered her appearance on behalf of Defendants Amneal

 Pharmaceuticals, LLC and Amneal Pharmaceuticals, Inc. (“Amneal”) (ECF No. 1463), hereby

 requests the Court’s permission to withdraw as attorney for Defendants Amneal.

        PLEASE TAKE FURTHER NOTICE that Kirkland & Ellis LLP will continue to serve

 as counsel of record for Defendants Torrent Pharmaceuticals Ltd. and Torrent Pharma Inc.



 Dated: January 18, 2023

                                                    Respectfully submitted:


                                                    /s/ Jay P. Lefkowitz

                                                    KIRKLAND & ELLIS LLP
                                                    Jay P. Lefkowitz
                                                    601 Lexington Avenue
                                                    New York, New York 10022
                                                    Tel: (212) 909-3344
                                                    Fax: (212) 446-6460
                                                    lefkowitz@kirkland.com
Case 1:19-md-02875-RMB-SAK            Document 2237         Filed 01/18/23      Page 2 of 2 PageID:
                                           76726



                                  CERTIFICATE OF SERVICE

        I hereby certify that on January 18, 2023, I electronically filed the foregoing Notice of of

 Request to Withdraw as Counsel with the Clerk of Court by using the CM/ECF system, which

 will send a notice of electronic filing to all CM/ECF participants.




                                                       /s/ Jay P. Lefkowitz
                                                      Jay P. Lefkowitz
                                                      KIRKLAND & ELLIS LLP
                                                      601 Lexington Avenue
                                                      New York, NY 10022
                                                      Tel: 212-446-4800
                                                      Fax: 212-446-4900
                                                      lefkowitz@kirkland.com
